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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION


FELICIA BOONE,                                     )
                                                   )
       Plaintiff,                                  )
                                                   )
vs.                                                )    CIVIL ACTION 05-0444-CB-D
                                                   )
PAULINE PADGETT, et al.,                           )
                                                   )
       Defendants.                                 )


                                               ORDER

       After due and proper consideration of all portions of this file deemed relevant to the issue

raised, and there having been no objections filed, the Report and Recommendation of the Magistrate

Judge made under 28 U.S.C. § 636(b)(1)(B) is ADOPTED as the opinion of this Court. It is

ORDERED that this action be and is hereby DISMISSED without prejudice for failure to prosecute.

       DONE this 30th day of November, 2005.




                                                        s/Charles R. Butler, Jr.
                                                        Senior United States District Judge
